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                               UNITED STATES DISTRICT COURT
                                          FOR THE
                                DISTRICT OF MASSACHUSETTS



JOFRAN SALES, INC.,

                  Plaintiff,

v.                                                      CIVIL ACTION NO.

WATKINS AND SHEPARD
TRUCKING, INC.,

                  Defendant,

and

THE PNC FINANCIAL SERVICES GROUP,
INC.,

                  Trustee Process Defendant.




     PLAINTIFF’S MOTION FOR APPOINTMENT OF SPECIAL PROCESS SERVER

       Pursuant to Fed. R. Civ. P. 4(c)(3), the plaintiff moves for an order appointing Process

Server Jon Pollack & Associates, 279 East Central Street, Franklin, MA 02038, as special

process server to effect service of the Summons, Verified Complaint, and related materials on the

defendants, who have principal addresses in Missoula, MT and Pittsburgh, PA, and who both

have registered agents in Boston, Massachusetts. An order allowing this Motion will serve the

interests of judicial economy and efficiency and will cause no prejudice to the defendants.
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                                           Respectfully submitted,

                                           JOFRAN SALES, INC.
                                           By its attorneys,

                                           /s/ Jennifer R. Kiefer
                                           Maureen Mulligan, BBO #556482
                                           Jennifer R. Kiefer, BBO #670033
                                           Peabody & Arnold LLP
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Dated: June 21, 2016



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                                     CERTIFICATE OF SERVICE

          I, Jennifer R. Kiefer, attorney for plaintiff, Jofran Sales, Inc., hereby certify this 21st day

of June, 2016 that I efiled and will serve a copy of the foregoing document on all parties of

record.

                                                      /s/ Jennifer R. Kiefer
                                                      Jennifer R. Kiefer
